Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.339 Filed 04/12/12 Page 1 of 6




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 11-20551

BRANDON RAY JOHNSON, et al.,

              Defendants.
                                                   /

     ORDER DENYING BRANDON RAY JOHNSON’S MOTION FOR DISCOVERY

       Pending before the court is Defendant Brandon Ray Johnson’s motion for

discovery, in which Defendants Tico Mason, Kacee Porter, Vernon Mason IV, Cortez

Harris, Delanoy Mason, and Elizabeth Barker have joined or occurred. The

Government responded and submitted to the court for in camera review unredacted

versions of the discovery already voluntarily disclosed to Defendants. The court held a

hearing on the motion on April 5, 2012. After reviewing the briefs and unredacted

discovery, the court will deny the motion.

       The Government alleges that beginning in December 2009 and continuing until

their arrest, Defendants operated an Oxycontin distribution ring. Defendants are

alleged to have obtained large quantities of Oxycontin pills in Detroit, Michigan, which

they then transported to Portsmouth, Ohio, to illegally distribute. Defendants are each

charged with conspiring to distribute and possess with intent to distribute a controlled

substance in violation of 21 U.S.C. § 841(a)(1).

       On October 4, 2011, Defendant Johnson requested discovery materials from the

Government. In response to the request, the Government provided approximately 145
Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.340 Filed 04/12/12 Page 2 of 6


pages of discovery to the Defendants. The discovery consisted of seventeen FBI 302

memoranda relating to the statements of eight individuals, several police reports, a

search warrant and affidavit, and photocopies of paper exhibits. The documents as

disclosed were redacted so as to obliterate the names of individuals interviewed by the

authorities, the names of uncharged individuals, and evidence of criminal activities

unrelated to the case. In his motion, Defendant Johnson argues that as a result of the

Government’s redactions, a large portion of the discovery is indecipherable,

meaningless, and impinges upon his ability to prepare a defense. He seeks an order

that requires the Government to provide unredacted versions of the discovery, or, in the

alternative, to justify the redactions to the court in camera. On March 23, 2012, in

response to Defendant Johnson’s request for in camera review, the Government

submitted under seal unredacted1 versions of the discovery documents for review.

       “There is no general constitutional right to discovery in a criminal case.”

Weatherford v. Bursey, 429 U.S. 545, 559 (1977). Rather, “in most criminal

prosecutions, the Brady rule, [Federal Rule of Criminal Procedure] 16 and the Jencks

Act, exhaust the universe of discovery to which the defendant is entitled.” United States

v. Presser, 844 F.2d 1275, 1285 n.12 (6th Cir. 1988). While Defendant Johnson

criticizes the Government’s method of producing discovery in this case, claiming that

the redactions in the produced discovery “make particular reports meaningless and

frustrates the Defendant in his attempt to prepare his case,” (Def. Johnson’s Mot.

Discovery 1, Dkt. # 91), he does not demonstrate any entitlement to the requested




   1
   The portions of the material that was redacted in the version given to Defendants was
marked with highlighter in the version given to the court.


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Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.341 Filed 04/12/12 Page 3 of 6


relief, i.e., unredacted versions of the various witness statements and reports, under the

limited regime of discovery in criminal cases.

       To the extent that Defendant Johnson seeks disclosure of the “substantive

information . . . associated with all 8 witnesses for whom investigative reports have

been disclosed,” (Def. Johnson’s Reply 2, Dkt. # 111), such a request at this juncture is

expressly precluded by the Jencks Act, 18 U.S.C. § 3500, which provides, in part:

       In any criminal prosecution brought by the United States, no statement or
       report in the possession of the United States which was made by a
       Government witness or prospective Government witness (other than the
       defendant) shall be the subject of subpoena, discovery, or inspection until
       said witness has testified on direct examination in the trial of the case.

18 U.S.C. § 3500(a). Indeed, the language at the heart of the statute is so striking in its

clarity—no statement shall be inspected until the witness has testified—that it could be

interpreted to prohibit even voluntary discovery of the kind provided in this case. For

decades, however, courts have noted the Government’s common practice of proffering

such material early on. See, e.g., United States v. King, 521 F.2d 356, 358 (6th

Cir.1975) (acknowledging that the “[t]he statements furnished to appellant before trial

were voluntarily disclosed at a time well prior to the time appellant was legally entitled

thereto under the Jencks Act”).

       Moreover, while Defendant Johnson’s desire to learn the identities of the

individuals interviewed by the Government is understandable, defendants are “not

entitled to know, in advance of trial, who is going to testify for the government.” United

States v. Dark, 597 F.2d 1097, 1099 (6th Cir.1979). Therefore, the Government’s

decision to redact the first and last names of the witnesses and identify each witness by

his or her initials in the FBI 302 memoranda of interviews does not contravene any duty




                                             3
Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.342 Filed 04/12/12 Page 4 of 6


the Government currently owes to Defendants with respect to pre-trial discovery.

Defendant Johnson’s contention that under “our system of justice . . . [a] defendant

should have the names of his accusers and the information they claim to inculpate the

defendant sufficiently in advance of trial in order to prepare a defense,” (Def. Johnson’s

Reply 4), is simply wrong. Here, the Government has acknowledged its obligation

under the Jencks Act to turn over the statements of any witness who will ultimately

testify at trial. (Gov’t’s Resp. To Def. Johnson’s Mot. Discovery 9.) Until the

Government calls such witnesses to testify, it is not mandated by the Constitution or the

Jencks Act to disclose the identity of its witnesses or to produce unredacted versions of

their statements.

       The Government has further stated that it has already complied and will continue

to comply with its responsibilities under Rule 16 and Brady. Rule 16 requires the

Government, upon a defendant’s request, to disclose “the substance of any relevant

oral statement made by the defendant . . . in response to interrogation by a person the

defendant knew was a government agent if the government intends to use the

statement at trial,” Fed. R. Crim. P. 16(a)(1)(A), and to make available for inspection or

copying certain written or recorded statements made by the defendant, Fed. R. Crim. P.

16(a)(1)(B). According to the Government, such disclosures have already been made

to Defendants. (Gov’t’s Resp. to Def. Johnson’s Discovery Mot. 8 n.3.) Under the

Brady rule, the Government has an “obligation to turn over evidence in its possession

that is both favorable to the accused and material to guilt or punishment.” Pennsylvania

v. Ritchie, 480 U.S. 39, 57 (1987) (citing United States v. Agurs, 427 U.S. 97, 96 (1976)

and Brady v. Maryland, 373 U.S. 83, 87 (1963)). The Government, however, “typically




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Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.343 Filed 04/12/12 Page 5 of 6


is the sole judge of what evidence in its possession is subject to disclosure.” Presser,

844 F.2d at 1281. Thus, when a defendant makes a request for Brady material, it is the

Government “that decides which information must be disclosed. Unless defense

counsel becomes aware that other exculpatory evidence was withheld and brings it to

the court's attention, the prosecutor's decision on disclosure is final.” Ritchie, 480 U.S.

at 59 (footnote omitted). Accordingly, because “the government has represented that it

will comply with all of its Brady obligations in time for effective use of the Brady material

at trial,” the court will not enter an order compelling pre-trial discovery. Presser, 844

F.2d at 1283.

       In spite of Defendant Johnson’s argument that “[t]he Government’s approach in

this case . . . is not the way our system of justice is supposed to work,” (Def. Johnson’s

Reply 4), the Government has at this stage of the proceedings actually exceeded any

statutory or constitutional obligations it has to produce pre-trial discovery. Indeed, at the

request of Defendant Johnson, the Government submitted to the court for in camera

review unredacted versions of the produced discovery to confirm that the redactions

comported with its duties under Brady, the Jencks Act, and Rule 16. The court has

reviewed the discovery and, based upon its understanding of the facts of the case and

the apparent relationship of the various Defendants at this point—the court’s

understanding is admittedly not encyclopedic—concludes that the Government has not

contravened the Brady rule or any other discovery obligation.

       Defendants are not entitled to unredacted versions of the documents produced

by the Government. Accordingly,




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Case 2:11-cr-20551-RHC-MKM ECF No. 123, PageID.344 Filed 04/12/12 Page 6 of 6


           IT IS ORDERED that Defendant Brandon Ray Johnson’s motion for discovery

[Dkt. # 91] is DENIED.

                                                                    s/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE

Dated: April 12, 2012

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 12, 2012, by electronic and/or ordinary mail.

                                                                    s/Lisa G. Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




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